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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,


       vs.                                                   Criminal Nos. 23-10159-IT
JACK DOUGLAS TEIXEIRA

                      Defendant.




  ASSENTED TO MOTION FOR CONTINUANCE OF PRETRIAL CONFERENCE
 PURSUANT TO SECTION 2 OF THE CLASSIFIED INFORMATION PROCEDURES
                               ACT

       The United States of America, by and through undersigned counsel, respectfully moves the

Court to continue the pretrial conference, currently scheduled for December 23, 2023, to February

9, 2024.

       Since the last pretrial conference, the government has made an additional production of

classified discovery and is preparing to produce additional classified discovery this week. The

government has also responded to classified (and unclassified) discovery requests from the

defendant. The parties seek to have the pretrial conference after the date scheduled for the final

status conference before Magistrate Judge Hennessy. At that point, the parties anticipate that

discovery will be substantially complete such that it would be appropriate to use the February 9,

2023, date as a Pretrial Conference pursuant to Section 2 of the Classified Information Procedures

Act and as an initial pretrial conference pursuant to Local Rule 117.1(a) if Magistrate Judge

Hennessy has transferred the case with a final status report pursuant to Local Rule 116.5(d).
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       WHEREFORE, the Government respectfully requests, with the assent of defense counsel,

that the Court grant the requested continuance.

December 19, 2023                                     Respectfully submitted,


                                                      JOSHUA S. LEVY
                                                      Acting United States Attorney

                                                      /s/ Jared C. Dolan
                                                      NADINE PELLEGRINI
                                                      JARED C. DOLAN
                                                      JASON CASEY
                                                      Assistant United States Attorneys

                                                      MATTHEW G. OLSEN
                                                      Assistant Attorney General

                                                      /s/ Christina A. Clark
                                                      CHRISTINA A. CLARK
                                                      Trial Attorney
                                                      National Security Division


                                   CERTIFICATE OF SERVICE
        I hereby certify that this document filed today through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).



                                                      /s/ Jared C. Dolan
                                                      Jared C. Dolan
                                                      Assistant United States Attorney


December 19, 2023




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